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                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION

  In re:                                §
                                        §
  WC 2101 W BEN WHITE, LP               §       Case No. 20-10182-tmd
                                        §

               DEBTOR’S CHAPTER 11 PLAN OF REORGANIZATION

  DATED: May 4, 2020.

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                                          INTRODUCTION

          WC 2101 W Ben White, LP (the “Debtor”), the Debtor in Possession in this chapter 11
  case, proposes the following Plan of Reorganization for the treatment of its outstanding claims and
  equity interests. Holders of Claims and Equity Interests should refer to the Disclosure Statement
  for a discussion of the Debtor’s history, business, and assets as well as a summary and description
  of the Plan. The Debtor is the proponent of the Plan within the meaning of section 1129 of the
  Bankruptcy Code.

         Subject to the restrictions on modifications set forth in section 1127 of the Bankruptcy
  Code, Bankruptcy Rule 3019, and Section 11.01 of this Plan, the Debtor reserves the right to alter,
  amend, or modify this Plan.

                                     ARTICLE I
                     DEFINITIONS AND RULES OF INTERPRETATION

         1.01. Defined Terms. Capitalized terms used in the Plan that are not defined in Article I
  but are defined in the Bankruptcy Code shall have the respective meanings specified in the
  Bankruptcy Code. The following terms used in the Plan shall have the respective meanings defined
  below:

         As used in this Plan, the following terms have the following meanings:

  “Administrative Claim” or “Administrative Expense Claim” means a Claim for any cost or
  expense of administration of the Chapter 11 Case Allowed pursuant to sections 503(b), 507(b) or
  546(c)(2) of the Bankruptcy Code and entitled to priority pursuant to section 507(a)(1) of the
  Bankruptcy Code, including: (a) fees payable pursuant to 28 U.S.C. § 1930; (b) actual and
  necessary costs and expenses incurred in the ordinary course of the Debtor’s business; (c) actual
  and necessary costs and expenses of preserving the Estate or administering this Chapter 11 Case;
  and (d) all Professional Fee Claims to the extent Allowed by Final Order pursuant to sections 330,
  331, or 503 of the Bankruptcy Code .

  “Administrative Claims Bar Date” means the first Business Day that is 30 days after the
  Confirmation Date.

   “Allowed” means, in reference to a Claim or Equity Interest, (a) a Claim or Equity Interest that
  has been allowed by a Final Order; or (b) with respect to any Claim against, or Equity Interest in,
  the Debtor: (i) (A) proof of which, request for payment of which, or application for allowance of
  which, was filed or deemed filed with the Bankruptcy Court on or before the Bar Date, the
  Administrative Claims Bar Date, the Professional Fee Bar Date, or the Rejection Damages Bar
  Date, as applicable, for filing proofs of claim or equity interest or requests for payment for Claims
  of that type against the Debtor or other applicable date established by order of the Bankruptcy
  Court, even if that date is after the Bar Date, the Administrative Claims Bar Date, the Professional
  Fee Bar Date, or the Rejection Damages Bar Date, as applicable; or (B) a Claim or Equity Interest
  that is allowed by the Debtor; (ii) listed as undisputed, liquidated, and non-contingent in the
  Schedules and as to which no objection to its allowance or motion to estimate for purposes of
  allowance has been interposed within the applicable period of limitation fixed by this Plan, the



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  Bankruptcy Code, the Bankruptcy Rules, or the Bankruptcy Court; and (iii) in each instance, a
  Claim or Equity Interest as to which no objection to its allowance or motion to estimate for
  purposes of allowance has been interposed within the applicable period of limitation fixed by this
  Plan, the Bankruptcy Code, the Bankruptcy Rules, or the Bankruptcy Court or, as to which any
  such objection or motion has been interposed, to the extent allowed by a Final Order. The term
  “Allowed,” when used to modify a reference in this Plan to any Claim, Equity Interest, Class of
  Claims, or Class of Equity Interests, means a Claim or Equity Interest (or any Claim or Equity
  Interest in any Class) that is so Allowed.

  “Avoidance Action” means causes of action arising under chapter 5 of the Bankruptcy Code, or
  under related state or federal statutes and common law, including, without limitation, fraudulent
  transfer and fraudulent conveyance laws, whether or not litigation has been commenced to
  prosecute such causes of actions.

  “Ballot” means the form(s) distributed to holders of Impaired Claims and Impaired Equity
  Interests entitled to vote on the Plan on which to indicate their acceptance or rejection of the Plan.

  “Bankruptcy Code” means title 11 of the United States Code, as amended from time to time and
  applicable to this Chapter 11 Case.

  “Bankruptcy Court” or “Court” means the United States Bankruptcy Court for the Western
  District of Texas, Austin Division, or such other court as may have jurisdiction over this Chapter
  11 Case.

  “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, as amended and
  prescribed pursuant to 28 U.S.C. § 2075, applicable to this Chapter 11 Case.

  “Bar Date” means the date or dates fixed by the Bankruptcy Court or by this Plan by which
  Persons asserting a Claim against, or Equity Interest in, the Debtor (except Administrative Claims,
  Professional Fee Claims, and Rejection Damages Claims) are required to file a proof of claim or
  equity interest or a request for payment or be forever barred from asserting a Claim against or
  Equity Interest in the Debtor or its property, from voting on this Plan, and from sharing in
  distributions under this Plan.

  “Business Day” means any day other than a Saturday, Sunday, or Legal Holiday (as defined in
  Bankruptcy Rule 9006).

  “Cash” means currency, checks drawn on a bank insured by the Federal Deposit Insurance
  Corporation, certified checks, money orders, negotiable instruments, and wire transfers of
  immediately available funds.

  “Chapter 11 Case” or “Case” means this case under Chapter 11 of the Bankruptcy Code in which
  the Debtor is the Debtor and Debtor-in-possession, pending before the Bankruptcy Court.

  “Claim” has the meaning assigned to such term by section 101(5) of the Bankruptcy Code.

  “Claim Objection Deadline” means the first Business Day that is the latest of (i) 10 days after
  the Effective Date; or (ii) such other date as may be established by the Bankruptcy Court.


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  “Class” or “Classification” means the particular class designated in the Plan, pursuant to
  section 1122 and section 1129 of the Bankruptcy Code, into which the Claims of all Creditors have
  been segregated for purposes of voting and distributions.

  “Confirmation Date” means the date the Bankruptcy Court enters the Confirmation Order.

  “Confirmation Hearing” means the hearing held by the Bankruptcy Court to consider
  confirmation of the Plan pursuant to section 1129 of the Bankruptcy Code.

  “Confirmation Order” means the order of the Bankruptcy Court confirming this Plan in
  accordance with the Bankruptcy Code. The Confirmation Order need not necessarily be a Final
  Order.

  “Contingent Claim” means any Claim for which a proof of claim has been filed with the
  Bankruptcy Court that: (a) was not filed in a fixed amount, or has not accrued and depends on a
  future event that has not occurred and may never occur; and (b) has not been Allowed on or before
  the Confirmation Date.

  “Creditor” has the meaning assigned to such term by Section 101(10) of the Bankruptcy Code.

  “Debtor” shall have the meaning ascribed to it in the preamble herein.

  “Disallowed” means a Claim or any portion of a Claim that has been disallowed, overruled,
  withdrawn or expunged by Final Order. The term “Disallowed,” when used to modify a reference
  in this Plan to any Claim, Equity Interest, Class of Claims, or Class of Equity Interests, means a
  Claim or Equity Interest (or any Claim or Equity Interest in any Class) that is so disallowed.

  “Disclosure Statement” means the Disclosure Statement for the Plan of Reorganization for the
  Debtor dated May4, 2020, together with any supplements, amendments, or modifications thereto.

  “Disputed” means (i) a Claim, Equity Interest or Administrative Expense Claim that is subject to
  a pending objection; or (ii) until the deadline in the Plan for filing objections to claims:

         (a)     a claim for which a corresponding Claim has not been listed in the Debtor’s
                 Schedules or for which the corresponding Claim is listed in the Debtor’s Schedules
                 with a differing amount, with a differing classification, or as a disputed, contingent,
                 or unliquidated Claim;

         (b)     a Claim which the Debtor in good faith believes is held by a holder either (i) from
                 which property is recoverable by the applicable Debtor pursuant to any of sections
                 542, 543, 550 or 553 of the Bankruptcy Code or (ii) that is a transferee of a transfer
                 avoidable pursuant to sections 522(f), 522(h), 544, 545, 547, 548, 549 or 724(a) of
                 the Bankruptcy Code unless the holder has paid the amount, or turned over any
                 such property for which such holder is liable pursuant to the terms of sections
                 522(i), 542, 543, 550, or 553 of the Bankruptcy Code; and




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          (c)     in any event, a Claim which has been paid during the pendency of this Chapter 11
                  Case pursuant to an order of the Court allowing the payment of such pre-petition
                  claim.

  “Disputed Claims Reserve” shall have the meaning set forth in Section 6.05 hereof.

  “Distributions” means a payment of Cash to the holders of Allowed Claims pursuant to the Plan.

  “Effective Date” means the first Business Day that is fourteen (14) days after the Confirmation
  Date on which (a) no stay of the Confirmation Order is in effect; and (b) all conditions to
  effectiveness set forth in Section 7.02 of this Plan have been satisfied or waived in accordance
  with the terms of this Plan.

  “Entity” shall have the meaning assigned to such term by Section 101(15) of the Bankruptcy
  Code.

  “Equity Interest” means any equity interest in the Debtor represented by (i) any class or series of
  common or preferred stock, (ii) any membership interest; or (iii) any general or limited partnership
  interest issued before the Effective Date, and any warrants, options, or rights to purchase any
  common or preferred stock.

  “Estate” means the estate for the Debtor created in this Chapter 11 Case pursuant to section 541
  of the Bankruptcy Code.

  “Exculpated Party” or “Exculpated Parties” means the Debtor, the Reorganized Debtor, the
  holders of Equity Interests and their agents, officers, directors, managers, employees,
  representatives, advisors, attorneys, affiliates, shareholders, or members, or any of their successors
  or assigns.

  “Executory Contract” means any contract or agreement between the Debtor and any Person or
  entity pursuant to which a duty of performance remains on one or both sides.

  “Final Order” means an order of a court: (a) to which the time to appeal, petition for writ of
  certiorari, or otherwise seek appellate review or to move for reargument, rehearing or
  reconsideration has expired and as to which no appeal, petition for writ of certiorari, or other
  appellate review, or proceedings for reargument, rehearing, or reconsideration shall then be
  pending; or (b) as to which any right to appeal, petition for certiorari, or move for reargument,
  rehearing, or reconsideration shall have been waived in writing by the party with such right; or
  (c) in the event that an appeal, writ of certiorari, or other appellate review or reargument, rehearing,
  or reconsideration thereof has been sought, which shall have been affirmed by the highest court to
  which such order was appealed, from which writ of certiorari or other appellate review or
  reargument, rehearing, or reconsideration was sought, and as to which the time to take any further
  appeal, to petition for writ of certiorari, to otherwise seek appellate review, and to move for
  reargument, rehearing, or reconsideration shall have expired; provided, however, that the
  possibility that a motion under Rule 60 of the Federal Rules of Civil Procedure or pursuant to
  section 1144 of the Bankruptcy Code, or any analogous rule under the Bankruptcy Rules, may be
  filed with respect to such order shall not cause such order not to be a Final Order.



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  “Holder” and, collectively, “Holders,” means a Person or Entity legally or beneficially, as
  applicable, holding a Claim or Equity Interest.

  “Impaired” means, when used with reference to a Claim or Equity Interest, a Claim or Equity
  Interest that is impaired within the meaning of section 1124 of the Bankruptcy Code.

  “Impaired Claim” means a Claim classified in an Impaired Class.

  “Impaired Class” means each of Classes 1 and 2 as set forth in Article III of the Plan.

  “Lender” means BBVA USA.

  “Lender Action” means a legal action brought by Debtor in which Debtor may assert potential
  claims and caused of action against Lender.

   “Lien” has the meaning assigned to such term by section 101(37) of the Bankruptcy Code, except
  for a lien that has been avoided in accordance with sections 544, 545, 546, 547, 548, or 549 of the
  Bankruptcy Code or applicable state law.

  “Person” means any individual, corporation, partnership, limited liability company, limited
  liability partnership, joint venture, association, joint-stock company, trust, unincorporated
  association or organization, governmental agency or associated political subdivision.

  “Petition Date” means February 4, 2020, the date when the Chapter 11 Case was instituted by the
  Debtor filing its voluntary petition pursuant to chapter 11 of the Bankruptcy Code.

  “Plan” means this Plan, either in its present form or as it may be amended, supplemented, or
  modified from time to time in accordance with the terms of this Plan, including, except where the
  context otherwise requires, all its annexed exhibits.

  “Plan Supplement” means the compilation of documents and forms of documents, all of which
  may be amended, modified, replaced and/or supplemented from time to time, to be filed with the
  Bankruptcy Court on or before the date that is seven (7) days prior to the scheduled commencement
  of the Confirmation Hearing that are required in order to consummate the Plan, including but not
  limited to the forms and lists as specified in the Plan and Disclosure Statement.

  “Priority Tax Claim” means any Claim of a governmental unit entitled to priority pursuant to
  section 507(a)(8) of the Bankruptcy Code.

  “Priority Secured Tax Claim” means a Secured Claim of a governmental entity whose claim
  would be a Priority Tax Claim pursuant to sections 502(i) or 507(a) of the Bankruptcy Code if it
  was not a Secured Claim.

  “Professional” means a Person: (a) employed in this Chapter 11 Case in accordance with an order
  of the Bankruptcy Court pursuant to sections 327, 328, 363, or 1103 of the Bankruptcy Code and
  to be compensated for services pursuant to r sections 327, 328, 329, 330, and 331 of the Bankruptcy
  Code or order of the Bankruptcy Court; or (b) for whom compensation and reimbursement has
  been Allowed by a Final Order pursuant to section 503(b) of the Bankruptcy Code.


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  “Professional Fee Bar Date” means the first Business Day that is 30 days after the Confirmation
  Date.

  “Professional Fee Claim” means an Administrative Claim for compensation and reimbursement
  of expenses of a Professional rendered or incurred before the Effective Date submitted in
  accordance with sections 328, 330, 331, or 503(b) of the Bankruptcy Code.

  “Property” shall mean the property owned by the Debtor, located at 2101 W. Ben White
  Boulevard in South Austin containing a retail shopping center..

  “Pro Rata” means a proportionate share, such that the ratio of the consideration distributed on
  account of an Allowed Claim or Equity Interest in a Class to the amount of such Allowed Claim
  or Equity Interest is the same as the ratio of the amount of the consideration distributed on account
  of all Allowed Claims or Equity Interests in that Class to the amount of all Allowed Claims or
  Equity Interests in that Class.

  “Proof of Claim” means a proof of Claim Filed against the Debtor in this Chapter 11 Case.

  “Refinance” shall mean a refinance of the obligations to the Lender.

  “Reinstated” or “Reinstatement” means (a) leaving unaltered the legal, equitable, and contractual
  rights to which a Claim entitles the Holder of such Claim so as to leave such Claim Unimpaired;
  or (b) notwithstanding any contractual provision or applicable law that entitles the Holder of a
  Claim to demand or receive accelerated payment of such Claim after the occurrence of a default:
  (i) curing any such default that occurred before or after the Petition Date, other than a default of a
  kind specified in section 365(b)(2) of the Bankruptcy Code or of a kind that section 365(b)(2)
  expressly does not require to be cured; (ii) reinstating the maturity (to the extent such maturity has
  not otherwise accrued by the passage of time) of such Claim as such maturity existed before such
  default; (iii) compensating the Holder of such Claim for any damages incurred as a result of any
  reasonable reliance by such Holder on such contractual provision or such applicable law; (iv) if
  such Claim arises from a failure to perform a nonmonetary obligation other than a default arising
  from failure to operate a nonresidential real property lease subject to section 365(b)(l)(A),
  compensating the Holder of such Claim (other than the Debtor or an insider) for any actual
  pecuniary loss incurred by such Holder as a result of such failure; and (v) not otherwise altering
  the legal, equitable, or contractual rights to which such Claim entitles the Holder.

  “Rejection Damages Bar Date” means the date that is thirty (30) days after the entry of an order
  of the Bankruptcy Court authorizing rejection of the Executory Contracts or unexpired leases,
  which order may be the Confirmation Order.

  “Reorganized Debtor” means the Debtor on and after the Effective Date.

  “Schedules” means the schedules of assets and liabilities, the list of holders of interests, and the
  statements of financial affairs filed by the Debtor pursuant to section 521 of the Bankruptcy Code
  and Bankruptcy Rule 1007, as the schedules, list, and statements may have been or may be
  supplemented or amended from time to time.




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  “Secured” means any Claim (a) listed in the Schedules as a liquidated, non-contingent, and
  undisputed secured Claim; or (b) reflected in a proof of claim as a Secured Claim, secured by a
  Lien to the extent of the value of the collateral securing such Lien, as determined in accordance
  with section 506(a) of the Bankruptcy Code, or, if the Claim is subject to setoff pursuant to section
  553 of the Bankruptcy Code, net of the setoff. The term “Secured,” when used to modify a
  reference in this Plan to any Claim or Class of Claims means a Claim (or any Claim in any Class)
  that is so Secured.

  “Solicitation” means the solicitation by the Debtor from Holders of Claims and Equity Interests
  entitled to vote on the Plan pursuant to section 1126(b) of the Bankruptcy Code.

  “Substantial Consummation” shall mean the commencement of distribution pursuant to the Plan
  as contemplated by section 1101(c) of the Bankruptcy Code.

  “Statement of Financial Affairs” means the Statement of Financial Affairs (and any amendments
  or supplements thereto) filed by the Debtor in this Chapter 11 Case.

  “Taxing Authorities” shall mean the various local, state, and federal taxing authorities with
  jurisdiction regarding the property of the Debtor.

  “Unsecured” means any Claim against the Debtor’s Estate for which the holder has no security
  for the repayment thereof and for which the holder is not entitled to any priority under the
  Bankruptcy Code. The term “Unsecured,” when used to modify a reference in this Plan to any
  Claim or Class of Claims, means a Claim (or any Claim in any Class) that is so Unsecured.

  “U.S. Trustee” means the Office of the United States Trustee for the Western District of Texas.

  “U.S. Trustee Fees” means fees arising under 28 U.S.C. § 1930(a)(6).

  “Voting Deadline” means [DATE], 2020.

  “Voting Record Date” means [DATE], 2020.

          1.02. Rules of Interpretation. Unless otherwise provided herein for purposes of the
  Plan: (a) whenever it is appropriate from the context, each term, whether stated in the singular or
  the plural, will include both the singular and the plural; (b) any reference in the Plan to a contract,
  instrument, release, or other agreement or document being in a particular form or on particular
  terms and conditions means that such document will be substantially in such form or substantially
  on such terms and conditions; (c) any reference in the Plan to an existing document or exhibit filed
  or to be filed means such document or exhibit, as it may have been or may be amended, modified,
  or supplemented pursuant to the Plan; (d) any reference to any Entity as a holder of a Claim
  includes that Entity’s successors and assigns; (e) all references in the Plan to sections, Articles,
  and exhibits are references to sections, Articles, and exhibits of or to the Plan; (f) the words
  “herein,” “hereof,” “hereunder,” “hereto” and others of similar import refer to the Plan in its
  entirety rather than to a particular portion of the Plan; (g) captions and headings to Articles and
  sections are inserted for convenience of reference only and are not intended to be a part of, or to
  affect the interpretation of, the Plan; and (h) the rules of construction set forth in section 102 of
  the Bankruptcy Code will apply.


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          1.03. Computation of Time. In computing any period of time prescribed or allowed by
  the Plan, the provisions of Bankruptcy Rule 9006(a) will apply.

          1.04. References to Currency. All references in the Plan to monetary figures shall refer
  to currency of the United States of America, unless otherwise expressly provided.

          1.05. Reference to the Debtor or the Reorganized Debtor. Except as otherwise
  specifically provided in the Plan to the contrary, references in the Plan to the Debtor or the
  Reorganized Debtor shall mean the Debtor and the Reorganized Debtor, as applicable, to the extent
  the context requires.

          1.06. Controlling Document. In the event of an inconsistency between the Plan and the
  Disclosure Statement or any other order (other than the Confirmation Order) referenced in the Plan
  (or any exhibits, schedules, appendices, supplements or amendments to any of the foregoing, other
  than the Plan Supplement), the terms of the Plan shall control in all respects. In the event of an
  inconsistency between the Plan and the Plan Supplement, the terms of the relevant document in
  the Plan Supplement shall control (unless stated otherwise in such Plan Supplement document or
  in the Confirmation Order). In the event of an inconsistency between the Confirmation Order and
  the Plan, the Confirmation Order shall control.

                                      ARTICLE II
                           TREATMENT OF UNCLASSIFIED CLAIMS

          2.01. Unclassified Claims. As provided in section 1123(a)(1) of the Bankruptcy Code, Administrative
  Expense Claims and Priority Tax Claims are not classified for purposes of voting on, or receiving
  distributions under, the Plan. Holders of Administrative Expense Claims and Priority Tax Claims
  are not entitled to vote on this Plan but, rather, are treated separately in accordance with Sections
  2.02 and 2.04 of this Plan and pursuant to section 1129(a)(9)(A) of the Bankruptcy Code.

           2.02. Administrative Claims. Each holder of an Allowed Administrative Claim (except
  any holder that agrees to a lesser or otherwise different treatment) shall be paid in full, in Cash, in
  full satisfaction of such Claim, on the later of the Effective Date or the date on which such
  Administrative Claim becomes an Allowed Claim, provided, however, that (a) Allowed
  Administrative Claims representing (1) post-petition liabilities incurred in the ordinary course of
  business by the Debtor or (2) post-petition contractual liabilities arising under loans or advances
  to the Debtor, whether or not incurred in the ordinary course of business, shall be paid in
  accordance with the terms and conditions of the particular transactions relating to such liabilities
  and any agreements relating thereto, and (b) Professional Fee Claims shall be paid on the later of
  (i) thirty (30) days after the Effective Date, or (ii) thirty (30) days following the date of a Final
  Order determining and Allowing such Claim as a Professional Fee Claim.

          2.03. Statutory Fees. On or before the Effective Date, Administrative Expense Claims
  for fees payable pursuant to 28 U.S.C. § 1930, as determined by the Bankruptcy Court at the
  Confirmation Hearing, will be paid in Cash equal to the Allowed amount of such Administrative
  Expense Claims. All fees payable pursuant to 28 U.S.C. § 1930 subsequent to the Confirmation
  Date will be paid by the Reorganized Debtor in accordance therewith until the entry of a Final
  Decree.


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          2.04. Priority Tax Claims. On the first business day of the month following the
  Effective Date, the Debtor shall commence making monthly payments on account of all Priority
  Tax Claims in an amount at least sufficient to meet the minimum payment requirements provided
  under section 1129(a)(9)(C) of the Bankruptcy Code, with subsequent payments made monthly
  thereafter. In the event that any of the Property secured by the Secured Tax Claims is sold during
  the term of the Plan or if the Lender’s secured debt is refinanced during the term of the Plan, the
  unpaid taxes secured by such Property shall be paid in full upon the sale of the Property or the
  refinancing of the Lender’s secured debt, as applicable.

         The Taxing Authorities shall retain all Liens until such taxes are paid in full.

          2.05. Professional Fee Claims. Unless otherwise ordered by the Bankruptcy Court, the
  Holders of Professional Fee Claims shall file their respective final fee applications for the
  allowance of compensation for services rendered and reimbursement of expenses incurred through
  the Effective Date by no later than the date set for the Confirmation Hearing reflecting fees and
  expenses incurred as of the end of the month preceding the date of the Confirmation Hearing with
  an estimate for the fees and expenses incurred from the end of such period until the Confirmation
  Hearing. If granted by the Bankruptcy Court, such Claim shall be paid in full in such amount as is
  Allowed by the Bankruptcy Court on the date such Professional Fee Claim becomes an Allowed
  Professional Fee Claim, or as soon as reasonably practicable thereafter. The Debtor shall be
  responsible for and timely pay all Allowed Professional Fee Claims in full.

          2.06. Post-Effective Date Fees and Expenses. Except as otherwise specifically provided
  in the Plan, from and after the Effective Date, the Debtor or Reorganized Debtor shall, in the
  ordinary course of business and without any further notice or application to or action, order, or
  approval of the Court, pay in Cash the reasonable, actual, and documented legal, professional, or
  other fees and expenses related to implementation of the Plan and consummation incurred on or
  after the Effective Date by the Professionals. Upon the Effective Date, any requirement that
  Professionals comply with sections 327 through 331, 363, and 1103 of the Bankruptcy Code in
  seeking retention or compensation for services rendered after such date shall terminate, and the
  Debtor or Reorganized Debtor may employ and pay any Professional in the ordinary course of
  business without any further notice to or action, order, or approval of the Court.

                                     ARTICLE III
                      CLASSIFICATION AND TREATMENT OF CLAIMS
                                AND EQUITY INTERESTS

          3.01. Introduction. This Plan places all Claims and Equity Interests, except unclassified Claims
  provided for in Article 2, in the Classes listed below. Unless otherwise stated, a Claim or Equity
  Interest is placed in a particular Class only to the extent that it falls within the description of that
  Class, and is classified in any other Class to the extent that any portion thereof falls within the
  description of such other Class.

         3.02. Summary of Classification. In accordance with section 1123(a)(1) of the
  Bankruptcy Code, all Claims and Equity Interests are placed in the Classes described below for all
  purposes, including voting on, confirmation of, and distributions under, this Plan as follows:



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      Class No.       Class Description                            Status                  Voting Rights

      Class 1         Lender                                       Impaired                 Entitled to Vote

      Class 2         Allowed Unsecured Claims                     Impaired                Entitled to Vote

      Class 3         Allowed Equity Interests                     Unimpaired              Not Entitled to Vote


            3.03.    Designation of Unimpaired and Impaired Classes. Classes 1 and 2 are impaired.

          3.04. Acceptance of the Plan. An impaired Class of Creditors shall have accepted the
  Plan if the Plan is accepted by at least two-thirds in amount and more than one-half in number of
  the Allowed Claims or such Class that have accepted or rejected the Plan. Any impaired Class of
  Creditors in which no member votes to accept or reject the Plan will be deemed to have accepted
  the Plan.

         3.05. Nonconsensual Confirmation. In the event any impaired Class fails to accept the
  Plan, in accordance with section 1129(a) of the Bankruptcy Code, the Debtor, as the Plan
  proponent, reserves the right to request that the Bankruptcy Court confirm the Plan in accordance
  with section 1129(b) of the Bankruptcy Code.

            3.06.    Classification and Treatment of Claims and Equity Interests.

            3.06.1      Class 1 – Lender.

                     3.06.1.1         The Lender’s Allowed Claim1 shall be paid at the election of the
                                      Debtor pursuant to one or more of the scenarios set forth below. The
                                      Debtor reserves the right to escrow proceeds to the extent there is
                                      still a dispute as to Lender’s secured claim or in connection with a
                                      Lender Action. The scenarios include, (a) cash proceeds from
                                      leasing, (b) cash proceeds from refinance, or (c) cash proceeds from
                                      a sale.

                        3.06.1.1.1.       Cash From Proceeds of Leasing

                        (a)      The Debtor currently generates sufficient cash flow from rental income
                                 to commence the regular payment of interest to Lender, and Debtor
                                 commenced the payment of contractual non-default interest as of the
                                 date hereof (May 4, 2020). Debtor intends to continue to use the
                                 proceeds of such rental income to pay the Lender any required
                                 payments, as well as any expenses as approved under any Cash
                                 Collateral Agreement with Lender and/or Cash Collateral Order entered
                                 by the Bankruptcy Court. Beginning on the 1st day of the month after
                                 the Effective Date, Debtor will pay to Lender interest monthly interest-

  1
    The Debtor reserves the right to contest the amount asserted by the Lender, the extent, priority and validity of its
  liens and to assert causes of action for damages.


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                        only payments at three and one-quarter percent (3.25%) or such other
                        amount as is determined by the Court. All remaining principal, pre-
                        Effective Date interest, and costs will be due and payable on June 30,
                        2021, or such other date as determined by the Court.

                 3.06.1.1.2.    Cash From Proceeds of Refinancing or Sale

                 (a)    The secured claim of the Lender will be paid from cash proceeds from
                        the refinancing or sale of all or a portion of the Property

                 (b)    Debtor may, consistent with section 1123(a)(5)(D) of the Bankruptcy
                        Code, market and sell any or all of the Property. In the event of such a
                        sale, Lender will receive the net proceeds from the sale of all or a portion
                        of the Property after payment of customary closing costs (including
                        broker’s fees, title insurance fees, and other typical closing costs and
                        taxes attributable to the Property) to be applied as determined by the
                        Court until satisfied in full.

                 (c)    Reorganized Debtor shall be entitled to close the sale of the Property
                        and the Lender shall be required to release its lien provided that the sale
                        provides either for the payment of the portion of Lender’s (a) allowed
                        claim in full, or (b) if Lender’s claim is not allowed, then the payment
                        of the undisputed portion of Lender’s claim in full, with additional
                        proceeds sufficient to pay any disputed portion of Lender’s claim to be
                        held in the registry of the Bankruptcy Court, in agreed-upon escrow
                        account, or as otherwise ordered by the Bankruptcy Court. To the extent
                        a Lender Action is pending, the Bankruptcy Court shall determine how
                        much of the sale or refinance proceeds will be held in escrow until the
                        resolution by final order or judgment in the Lender Action.

                       In the event of a monetary default under these provisions, Lender shall
                       provide Reorganized Debtor written notice stating the basis for the
                       default (the “Default Notice”) and Reorganized Debtor shall have five
                       (5) business days from the Default Notice to cure said default (the “Cure
                       Period”). If such default is not cured within the Cure Period, Lender
                       shall be entitled to pursue its available remedies under the Loan
                       Documents. Lender shall only be required to provide Reorganized
                       Debtor three (3) such Default Notices and Cure Periods. Lender may be
                       paid in whole or in part at any time without penalty from the proceeds of
                       the Sale or from any Refinancing obtained by or on behalf of the Debtor
                       or the Reorganized Debtor. Notwithstanding same, the Reorganized
                       Debtor reserves any and all rights to contest the validity of any such
                       default declared by the Lender and the Bankruptcy Court shall retain
                       jurisdiction to hear such disputes.




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                           (d)       Lender may be paid in whole or in part at any time without penalty from
                                     the proceeds of the Sale or from any Refinancing obtained by or on
                                     behalf of the Debtor or the Reorganized Debtor.

                           3.06.1.1.3.        Provision Applicable to Foregoing

                           (a)       To the extent of any dispute regarding the Lender’s Allowed Claim, that
                                     may be adjudicated and determined in a Court of competent jurisdiction,
                                     including the Bankruptcy Court.

                       3.06.1.2           This Class is impaired.

             3.06.2        Class 2 – Unsecured Claims.

                       3.06.2.1           Each holder of an Allowed Unsecured Claim 2 shall receive payment
                                          in full of the allowed amount of each holder’s claim, to be paid thirty
                                          (30) days following payment of the Class 1 claim.

                       3.06.2.2           This Class is impaired.

             3.06.3        Class 3 – Equity Interests.

                       3.06.3.1           Each holder of an Equity Interest shall retain such interests, but shall
                                          not receive any distribution on account of such interests until Class 1
                                          and Class 2 are paid in full.

                       3.06.3.2           This Class is not impaired.

         3.07. Payments to U.S. Trustee. Debtor shall make the payments and file all reports
  required by 28 U.S.C. § 1930(a)(6) unless and until this Chapter 11 Case is closed, converted, or
  dismissed.

                                                 ARTICLE IV
                                           IMPLEMENTATION OF PLAN

         4.01 Reorganized Debtor. From and after the Effective Date, Debtor will exist as the
  Reorganized Debtor. Except as otherwise provided in the Plan, the Reorganized Debtor will
  remain in possession and ownership of all of the assets of Debtor and shall operate them in its best
  business judgment without further oversight of the Bankruptcy Court.

          4.02 Revesting of Assets. Except as otherwise provided in the Plan, all Property of the
  Estate will revest in the Reorganized Debtor, subject only to (1) the Liens provided for in the Plan;
  and (2) the obligations of the Reorganized Debtor as set forth in the Plan and Confirmation Order
  - provided, however, that if this case is converted to a liquidation proceeding under chapter 7 of
  the Bankruptcy Code, then all of the Reorganized Debtor’s assets will revest in the chapter 7 estate.
  From and after the Effective Date, the Reorganized Debtor may operate its business and may use,

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      The Debtor reserves the right to object to any claims that it contests.


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  acquire and dispose of property without the supervision of the Bankruptcy Court, free of any
  restrictions of the Bankruptcy Code or the Bankruptcy Rules, subject to the terms and conditions
  of this Plan.

          4.03 Vesting and Enforcement of Causes of Action. Any and all claims and causes of
  action, shall vest in the Reorganized Debtor on the Effective Date, and the Reorganized Debtor
  shall be the only Entity entitled to pursue such claims or causes of action.

           4.04 Preservation of Causes of Action. In accordance with section 1123(b) of the
  Bankruptcy Code, the Reorganized Debtor shall retain and may enforce all rights to commence
  and pursue, as appropriate, any and all Causes of Action, whether arising before or after the
  Petition Date, including any actions specifically enumerated in the Plan Supplement, and such
  rights to commence, prosecute, or settle such Causes of Action shall be preserved notwithstanding
  the occurrence of the Effective Date. The Reorganized Debtor may pursue such Causes of Action,
  as appropriate, in accordance with the best interests of the Reorganized Debtor. No Entity may
  rely on the absence of a specific reference in the Plan, the Plan Supplement, or the Disclosure
  Statement to any Causes of Action against it as any indication that the Debtor or the Reorganized
  Debtor will not pursue any and all available Causes of Action against it. The Debtor or the
  Reorganized Debtor, as applicable, expressly reserve all rights to prosecute any and all Causes of
  Action against any Entity, except as otherwise expressly provided in the Plan, unless any Causes
  of Action against an Entity are expressly waived, relinquished, exculpated, released, compromised,
  or settled in the Plan or a Court order. For the avoidance of doubt, in no instance will any Cause
  of Action preserved pursuant to this Article include any claim or Cause of Action with respect to,
  or against, a Released Party.

          In accordance with section 1123(b)(3) of the Bankruptcy Code, except as otherwise
  provided herein, any Causes of Action that the Debtor may hold against any Entity shall vest in
  the Reorganized Debtor. The Reorganized Debtor, through its authorized agents or representatives,
  shall retain and may exclusively enforce any and all such Causes of Action. The Reorganized
  Debtor shall have the exclusive right, authority, and discretion to determine and to initiate, file,
  prosecute, enforce, abandon, settle, compromise, release, withdraw, or litigate to judgment any
  such Causes of Action, and to decline to do any of the foregoing without the consent or approval
  of any third party or further notice to or action, order, or approval of the Court.

          4.05 The Reorganized Debtor’s Obligations Under the Plan. The Reorganized
  Debtor shall perform all of the obligations under the Plan, including obligations to pay or otherwise
  satisfy the Allowed Claims. All Cash necessary for the Reorganized Debtor to make payments
  pursuant to the Plan shall be obtained from rental receipts, proceeds of refinance, proceeds of a
  sale, or from Court approved financing, including from an affiliate of the Debtor.

         (a)     From and after the Effective Date, the Reorganized Debtor shall, among other
                 things:

                 (1)     administer the Plan and take all steps and execute all instruments and
                         documents necessary to effectuate the Plan;




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                 (2)     resolve Disputed Claims, and administer the Claims allowance and
                         disallowance processes as set forth in the Plan, including, without
                         limitation, objecting to, prosecuting, litigating, reconciling, settling and
                         resolving Claims and Disputed Claims in accordance with the Plan;

                 (3)     make decisions regarding the retention, engagement, payment and
                         replacement of professionals, employees and consultants;

                 (4)     administer the Distributions under the Plan, including (i) making
                         Distributions in accordance with the terms of the Plan and (ii) establishing
                         and maintaining the various reserves;

                 (5)     exercise such other powers as necessary or prudent to carry out the
                         provisions of the Plan;

                 (6)     file appropriate tax returns; and

                 (7)     take such other actions as may be necessary or appropriate to effectuate this
                         Plan.

         (b)     Following the Effective Date the Reorganized Debtor may pay its post Effective
                 Date operating expenses in the ordinary course of its business without further notice
                 or orders of this Court.

          4.06 Exemption from Transfer Taxes. Pursuant to section 1146(c) of the Bankruptcy
  Code, the issuance, transfer, or exchange of notes or equity securities under the Plan or the making
  or delivery of any deed or other instrument or transfer under, in furtherance of, or in connection
  with the Plan, including without express or implied limitation, any transfers to or by the
  Reorganized Debtor, shall not be subject to any transfer, sales, stamp or other similar tax, and the
  Confirmation Order will direct the appropriate state or local governmental officials or agents to
  forego the collection of any such tax or governmental assessment and to accept for filing and
  recordation any of the forgoing instruments or other documents without the payment of any such
  tax or governmental assessment.

                             ARTICLE V
        TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

         5.01. Assumption or Rejection of Executory Contracts and Unexpired Leases. On the Effective
  Date, except as otherwise provided in the Plan, any unexpired lease or Executory Contract that has
  not been previously assumed or rejected by the Debtor pursuant to an order of the Bankruptcy
  Court shall be deemed rejected by the Debtor under sections 365(a) and 1123 of the Bankruptcy
  Code. Debtor will file a list of contracts to be assumed prior to date of the Confirmation Hearing.
  Entry of the Confirmation Order shall constitute approval of such assumptions or rejections, as the
  case may be (as such lists may be amended, supplemented or modified on or before the
  Confirmation Date), pursuant to sections 365(a) and 1123 of the Bankruptcy Code. Any motions
  to assume Executory Contracts and unexpired leases pending on the Effective Date shall be subject
  to approval by the Bankruptcy Court on or after the Effective Date by a Final Order.



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          5.02. Objections to Assumption of Executory Contracts and Unexpired Leases. To
  the extent that any party to an Executory Contract or unexpired lease identified for assumption, or
  any other party in interest, (a) asserts arrearages or damages pursuant to section 365(b)(1) of the
  Bankruptcy Code in an amount different from the amount, if any, set forth in the Schedules or
  otherwise asserted by the Debtor, (b) has any objection to the proposed adequate assurance of
  future performance, if required, or (c) has any other objection to the proposed assumption, cure,
  or assignment of a particular Executory Contract or unexpired lease on the terms and conditions
  provided for herein, all such asserted arrearages and any other objections shall be filed and served
  within the same deadline and in the same manner established for filing objections to the Plan.

          Failure to assert any arrearages different from the amount set forth in the Schedules (or the
  exhibits thereto) or otherwise asserted by the Debtor, or to file an objection within the time period
  set forth above, shall constitute consent to the assumption, cure, and assignment on the terms
  provided for herein, including acknowledgment that (a) the Debtor (or its assignee(s)) has provided
  adequate assurance of future performance, if required, (b) the amount identified for “cure,” if any,
  is the amount necessary to compensate for any and all outstanding defaults or actual pecuniary loss
  under the Executory Contract or unexpired lease to be assumed, and (c) no other defaults exist
  under such Executory Contract or unexpired lease.

          If an objection to assumption and assignment is filed based upon lack of adequate assurance
  of future performance or otherwise, and the Court determines that the Debtor cannot assume the
  Executory Contract or unexpired lease either as proposed or as may be proposed pursuant to a
  modified proposal submitted by the Debtor, then the unexpired lease or Executory Contract shall
  automatically thereupon be deemed to have been rejected.

          5.03. Payments Related to Assumption of Executory Contracts and Unexpired
  Leases. Any monetary defaults, including claims for actual pecuniary loss, under each Executory
  Contract and unexpired lease to be assumed under the Plan shall be satisfied, pursuant to
  section 365(b)(1) of the Bankruptcy Code, by payment of the cure amount, if any, as otherwise
  agreed by the parties or as ordered by the Bankruptcy Court, in Cash within 90 days following the
  Effective Date, or on such other terms as may be agreed to by the parties to such Executory
  Contract or unexpired lease. In the event of a dispute regarding (a) the amount of any cure or
  pecuniary loss payment, (b) the ability of Reorganized Debtor to provide adequate assurance of
  future performance under the contract or lease to be assumed, if required, or (c) any other matter
  pertaining to assumption, the cure or pecuniary loss payments required by section 365(b)(1) of the
  Bankruptcy Code shall be made within a reasonable time following entry of a Final Order resolving
  the dispute and approving assumption.

          5.04. Bar Date for Rejection Damages. If the rejection of an Executory Contract or
  unexpired lease pursuant to this Article gives rise to a Claim by the other party or parties to such
  contract or lease, such Claim, to the extent that it is timely filed and is an Allowed Claim, shall be
  classified in Class 2; provided, however, that the Unsecured Claim arising from rejection shall be
  forever barred and shall not be enforceable against the Debtor, Reorganized Debtor, their
  successors or Property, unless a proof of Claim is Filed and served on the Reorganized Debtor
  within 30 days after the entry of an order of the Bankruptcy Court authorizing rejection of the
  Executory Contract or unexpired lease, which order may be the Confirmation Order.



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          5.05. Insurance Policies. Notwithstanding anything contained in the Plan of
  Reorganization to the contrary, unless specifically rejected by order of the Bankruptcy Court, all
  of the Debtor’s insurance policies and any agreements, documents or instruments relating thereto,
  are treated as Executory Contracts under the Plan of Reorganization and will be assumed pursuant
  to the Plan of Reorganization, effective as of the Effective Date.

                                         ARTICLE VI
                                   DETERMINATION OF CLAIMS

          6.01. Objections to Claims. Notwithstanding the occurrence of the Effective Date, and except as to
  any Claim that has been Allowed under the Plan before the Effective Date, the Reorganized Debtor
  may object to the allowance of any Claim against the Debtor or seek estimation of any Claim on
  any grounds permitted by the Bankruptcy Code. All objections to Claims must be brought by
  filing the appropriate pleading in the Bankruptcy Court before the first Business Day that is 60
  days after the Effective Date, but the Bankruptcy Court may approve a later date on the
  Reorganized Debtor’s motion filed (but not necessarily heard) before the first Business Day that
  is 60 days after the Effective Date.

          6.02. Contingent Claims. Until a Contingent Claim becomes an Allowed Claim or is
  Disallowed, the Claim will be treated as a Disputed Claim for all purposes under this Plan. The
  holder of a Contingent Claim will be entitled to a distribution under this Plan only when the
  Contingent Claim becomes an Allowed Claim. Any Contingent Claim for reimbursement or
  contribution held by a Person that may be liable with the Debtor is Disallowed as of the Effective
  Date if: (a) that Creditor’s Claim is Disallowed; (b) the Claim for reimbursement or contribution
  is contingent as of the Effective Date; or (c) that Person asserts a right of subrogation to the rights
  of the Creditor under section 509 of the Bankruptcy Code.

          6.03. Undeliverable/Returned Distributions. Any Distribution to be made to a
  Creditor will be sent to that Creditor at (i) the address set forth on the proof of Claim filed for such
  Creditor, or (ii) if no proof of Claim is filed, at the address set forth on the Debtor’s Schedules. In
  the event that a Distribution as herein provided is returned as undeliverable, or a Distribution is
  returned on account of there being no payment due to the affected Creditor, the Reorganized
  Debtor shall hold such Distribution for the affected Creditor for a period of 60 days following the
  Date of that Distribution for the benefit of the Creditor. If the affected Creditor does not make a
  demand, in writing, for such unclaimed Distribution within the 60-day period, the Creditor shall
  forfeit all entitlement to the Distribution, and the Distribution shall revert to the Reorganized
  Debtor.

          6.04. Distributions on Allowance or Disallowance of Disputed Claims. No
  Distributions will be made to any holder of a Claim unless and until the Claim becomes an Allowed
  Claim. If a Claim is not an Allowed Claim as of the Effective Date, Distributions on account of
  that Claim will commence only when the Claim becomes an Allowed Claim after the Effective
  Date or as otherwise specifically provided in this Plan. If a Disputed Claim becomes an Allowed
  Claim, the Reorganized Debtor will make a Distribution in accordance with the terms of this Plan
  applicable to Claims of the Class in which that Claim resides.




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          6.05. Reserve Pending Distributions. With respect to any Disputed Claims in Class 2,
  on a periodic basis and at the same time as the Reorganized Debtor makes Distributions to the
  holders of Allowed Claims in such class hereunder, the Reorganized Debtor shall set aside an
  amount equal to the amount the holder of the Disputed Claim would have received had such
  Disputed Claim been an Allowed Claim as of the Effective Date (the “Disputed Claims
  Reserve”). Such Disputed Claims Reserve shall be released to the holder of a Disputed Claim
  within ten (10) days after it becomes an Allowed Claim so that such holder will receive all accrued
  but unmade payments as of such date so that such holder will have received equal treatment to
  holders of Allowed Claims. For purposes of the Disputed Claims Reserve, the Reorganized Debtor
  shall reserve based upon the amount reflected in the books and records of the Debtor.

        6.06. De Minimis Distributions. Any other provision of the Plan notwithstanding, the
  Reorganized Debtor shall not be required to make Distributions to holders of Allowed Claims in
  an amount less than $50.00 (unless such Allowed Claim is less than $50.00). Cash allocated to an
  Allowed Claim but withheld from Distribution pursuant to this subsection shall be held by the
  Reorganized Debtor for the account of and future Distribution to the holder of such Allowed Claim.

         6.07. Additional Charges. Except as may be expressly provided in the Plan or allowed
  by Final Order of the Bankruptcy Court, no interest, penalty, attorney’s fee or late charge shall be
  allowed or paid with respect to any Claim.

                                           ARTICLE VII
                                      CONDITIONS PRECEDENT

         7.01. Conditions to Confirmation. The following are conditions precedent to confirmation of this Plan,
  each of which must be satisfied or waived by the Debtor:

          (a)     Approval of Disclosure Statement.               The Bankruptcy Court approves the
                  Disclosure Statement.

          (b)     Form of Confirmation Order. The Bankruptcy Court enters the Confirmation
                  Order in form and substance reasonably acceptable to the Debtor.

          (c)     Form of Documents. The Plan, the Plan Supplement and all schedules,
                  documents, supplements and exhibits relating to this Plan shall have been filed in
                  form and substance acceptable to the Debtor and the Lender.

          (d)     Substance of Confirmation Order.               The Confirmation Order contains the
                  following:

                  (1)      the provisions of the Confirmation Order are nonseverable and mutually
                           dependent;

                  (2)      approval of the assumption, rejection, or assumption and assignment of the
                           specified Executory Contracts and unexpired leases;

                  (3)      all Executory Contracts or unexpired leases assumed and assigned by the
                           Debtor during this Chapter 11 Case or under this Plan remain in full force


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                          and effect for the benefit of the Reorganized Debtor or any assignees of
                          such contracts or leases, as the case may be, notwithstanding any provision
                          in any such contract or lease (including those described in section 365(b)(2)
                          and (f) of the Bankruptcy Code) that prohibits or conditions such
                          assignment or transfer or that enables, permits, or requires termination of
                          such contract or lease;

                  (4)     approval of all documents included in the Plan Supplement;

                  (5)     the Reorganized Debtor is released and discharged from all obligations
                          arising under all Executory Contracts and unexpired leases rejected by the
                          Debtor during this Chapter 11 Case or under this Plan;

                  (6)     except as otherwise provided in the Plan, the Reorganized Debtor is
                          discharged in accordance with Section 9.03 of this Plan; and

                  (7)     retention of jurisdiction of the Bankruptcy Court to the fullest extent
                          permissible by applicable law, and at least to the extent contemplated by
                          Article VIII of this Plan.

         7.02. Conditions to Effectiveness. The following are conditions precedent to the
  occurrence of the Effective Date; provided, however, the Debtor may waive one or more of such
  conditions whereupon the Effective Date shall occur without further action by any Person:

          (a)     the Confirmation Date occurs;

          (b)     all documents necessary to effectuate the Plan as contained in the Plan Supplement
                  shall have been executed and delivered (or approved by the Court), and all
                  conditions precedent thereto shall have been satisfied (other than the occurrence of
                  the Effective Date);

          (c)     all authorizations and/or consents required, if any, in connection with the
                  consummation of this Plan shall have been obtained; and

          (d)     the Confirmation Order is not stayed pursuant to an order issued by a court of
                  competent jurisdiction.

         7.03. Waiver of Conditions. The Debtor may waive any condition to confirmation or
  the Effective Date, in whole or in part, at any time without notice, an order of the Bankruptcy
  Court, or any further action other than proceeding to confirmation and consummation of this Plan.

                                         ARTICLE VIII
                                  JURISDICTION OF THE COURT

          8.01. General Retention of Jurisdiction. Until this Chapter 11 Case is closed, the Bankruptcy Court
  shall retain the fullest and most extensive jurisdiction permissible, including, without limitation,
  that necessary (a) to ensure that the purposes and intent of the Plan are carried out, (b) to enforce
  and interpret the terms and conditions of the Plan, and (c) to enter such orders or judgments


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  including, without limitation, injunctions necessary to enforce the rights, title, and powers of the
  Debtor and/or the Reorganized Debtor. Except as otherwise provided in the Plan, the Bankruptcy
  Court shall retain jurisdiction to hear and determine all Claims against and Equity Interests in the
  Debtor and to adjudicate and enforce all other causes of action that may exist on behalf of the
  Debtor. Nothing contained herein shall prevent the Reorganized Debtor from taking such action
  as may be necessary in the enforcement of any cause of action that each has or may have and that
  may not have been enforced or prosecuted by the Debtor, which cause of action shall survive entry
  of the Confirmation Order and occurrence of the Effective Date and shall not be affected thereby
  except as specifically provided herein.

         8.02. Specific Purposes. Without limiting the effect of Section 8.01, the Bankruptcy
  Court shall retain jurisdiction after Confirmation to:

         (a)     modify the Plan after entry of the Confirmation Order, pursuant to the provisions
                 of the Plan, the Bankruptcy Code, and the Bankruptcy Rules;

         (b)     correct any defect, cure any omission, reconcile any inconsistency, or make any
                 other necessary changes or modifications in or to the Plan, or the Confirmation
                 Order as may be necessary to carry out the purposes and intent of the Plan;

         (c)     hear and determine any cause of action, and to enter and implement such orders as
                 may be necessary or appropriate, to execute, interpret, implement, consummate, or
                 enforce the Plan and the transactions contemplated thereunder;

         (d)     hear and determine disputes arising in connection with the execution, interpretation,
                 implementation, consummation, or enforcement of the Plan, and to enforce,
                 including by specific performance, the provisions of the Plan;

         (e)     hear and determine disputes arising in connection with the execution, interpretation,
                 implementation, consummation, or enforcement of the settlement agreements or
                 other agreements entered into by the Debtor during this Case.

         (f)     enter and implement orders or take such other actions as may be necessary or
                 appropriate to restrain interference with the consummation or implementation of
                 the Plan, including, without limitation, to issue, administer, and enforce injunctions,
                 releases, assignments, transfers of property or property rights, or other obligations
                 contained in the Plan and the Confirmation Order;

         (g)     assure the performance by Reorganized Debtor of its obligations to make
                 distributions under the Plan;

         (h)     enter such orders or judgments, including injunctions, as necessary to enforce the
                 title, rights, and powers of the Debtor, Reorganized Debtor, or the Plan;

         (i)     hear and determine any and all adversary proceedings, applications, and contested
                 matters, including any remands after appeal;




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        (j)   ensure that distributions to holders of Allowed Claims are accomplished as
              provided herein;

        (k)   hear and determine any timely objections to or motions or applications concerning
              Claims or the allowance, classification, priority, compromise, setoff, estimation, or
              payment of any Claim, to the fullest extent permitted by the provisions of
              section 157 of title 28 of the United States Code;

        (l)   enter and implement such orders as may be appropriate in the event the
              Confirmation Order is for any reason stayed, revoked, modified, reversed, or
              vacated;

        (m)   hear and determine any motions, contested matters or adversary proceedings
              involving taxes, tax refunds, tax attributes, tax benefits, and similar or related
              matters with respect to the Debtor and/or Reorganized Debtor arising on or prior to
              the Effective Date, arising on account of transactions contemplated by the Plan, or
              relating to the period of administration of the Case;

        (n)   hear and determine all applications for the employment or compensation of
              Professionals and reimbursement of expenses pursuant to sections 330, 331, or
              503(b) of the Bankruptcy Code or the Plan;

        (o)   recover all assets of the Debtor and Property of the Estate wherever located,
              including actions under chapter 5 of the Bankruptcy Code;

        (p)   hear and determine any and all motions pending as of the Confirmation Date for
              the rejection, assumption, or assignment of Executory Contracts or unexpired leases
              and the allowance of any Claim resulting therefrom;

        (q)   hear and determine such other matters and for such other purposes as may be
              provided in the Confirmation Order;

        (r)   consider and act on the compromise and settlement of any Claim against, or Equity
              Interest in, the Debtor, including, without limitation, any disputes relating to any
              Administrative Claims or any Bar Date;

        (s)   hear and determine all questions and disputes regarding title to the assets of the
              Debtor or its Estate;

        (t)   To issue such orders in aid of execution of the Plan to the extent authorized by
              section 1142 of the Bankruptcy Code; and the court may issue such orders in aid of
              consummation of the Plan pursuant to sections 105 and 1142 of the Bankruptcy
              Code, including orders to authorize the Debtor (or such other party as may be
              designated by the Bankruptcy Court) to deliver and execute, on behalf of the
              Lender, any documents evidencing the Restructured Loan or related agreements;

        (u)   hear and determine any other matters related hereto, including the implementation
              and enforcement of all orders entered by the Bankruptcy Court in the Case; and


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          (v)     enter such orders as are necessary to implement and enforce any injunctions
                  provided for in the Plan and Confirmation Order.

                                          ARTICLE IX
                                    EFFECT OF CONFIRMATION

         9.01. General. On the Effective Date, the provisions of this Plan shall be binding on the Debtor, any
  person or entity acquiring property under the Plan, and any Creditor of the Debtor, whether or not
  such Creditor has accepted the Plan.

          9.02. Plan Injunction. Except as specifically set forth in the Plan, from and after the
  Confirmation Date, all holders of Claims against and Equity Interests in the Debtor are
  permanently restrained and enjoined (i) from commencing or continuing in any manner, any action
  or other proceeding of any kind with respect to any such Claim or Equity Interests against the
  Debtor or the Estate, (ii) from enforcing, attaching, collecting, or recovering by any manner or
  means, any judgment, award, decree, or order against the Debtor or the Estate, (iii) from creating,
  perfecting, or enforcing any encumbrance of any kind against the Debtor or the Estate, (iv) from
  asserting any setoff, right of subrogation, or recoupment of any kind against any obligation due
  the Debtor, and (v) from performing any act, in any manner, in any place whatsoever, that does
  not conform to or comply with the provisions of the Plan; provided, however, that each holder of
  a Disputed Claim or Disputed Equity Interest may continue to prosecute its proof of Claim or
  Equity Interest in the Bankruptcy Court and all holders of Allowed Claims and Equity Interests
  shall be entitled to enforce their rights under the Plan.

          9.03. Discharge of Claims. Except as otherwise provided in the Plan, the rights afforded
  in the Plan and the payments and distributions to be made thereunder are in complete exchange
  for, and in full satisfaction and release of, all existing Claims, debts and obligations of any kind,
  nature or description whatsoever of or against the Debtor or any of its assets or property to the
  fullest extent permitted pursuant to section 1141 of the Bankruptcy Code. Upon the Effective
  Date, and except as otherwise provided in the Plan, all existing Claims against the Debtor and the
  Reorganized Debtor shall be and shall be deemed to be discharged. Subject to the provisions of
  the Plan, all holders of Claims or Equity Interests shall be precluded from asserting against the
  Debtor, or any of its assets or property, any other or further Claim based upon any act or omission,
  transaction or other activity of any kind or nature that occurred prior to the Effective Date, whether
  or not such holder filed a proof of Claim or proof of Equity Interest. Subject to the provisions of
  the Plan, upon the Effective Date, the Debtor shall be deemed discharged and released from any
  and all Claims, including, but not limited to, demands and liabilities that arose before the Effective
  Date, and all debts of the kind specified in sections 502(g), 502(h) or 502(i) of the Bankruptcy
  Code, whether or not (i) a proof of Claim or Equity Interest based upon such obligation is filed or
  deemed filed pursuant to section 501 of the Bankruptcy Code; (ii) a Claim or Equity Interest based
  upon such debt is Allowed pursuant to section 502 of the Bankruptcy Code; or (iii) the holder of a
  Claim or Equity Interest based upon such debt has accepted the Plan. Except as provided herein,
  the Confirmation Order shall be a judicial determination of discharge of all liabilities of the Debtor
  and the Reorganized Debtor. In accordance with section 524 of the Bankruptcy Code, the
  discharge provided for hereunder shall void any judgment against the Debtor to the extent it relates
  to a Claim discharged, and operates as an injunction against the prosecution of any action against
  the Debtor or its Property to the extent it relates to a discharged Claim.


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          9.04.   Exculpation.

                  (a)     None of the Exculpated Parties shall have or incur any liability to any
  Person or any of their respective agents, employees, representatives, advisors, attorneys, affiliates,
  shareholders, or members, or any of their successors or assigns, for any act or omission in
  connection with, relating to, or arising out of, this Chapter 11 Case, the Disclosure Statement, the
  transactions contemplated by or described in the Plan or Disclosure Statement, the formulation,
  negotiation, or implementation of this Plan, the pursuit of Confirmation of this Plan, the
  Confirmation of this Plan, the consummation of this Plan, or the administration of this Plan or the
  property to be distributed under this Plan, save and except the obligation of the Reorganized Debtor
  to timely make the payments called for hereunder.

                   (b)     Notwithstanding any other provisions of this Plan, no Person, no Person’s
  agents, directors, managers, officers, employees, representatives, advisors, attorneys, affiliates,
  shareholders, or member and no Person’s successors or assigns shall have any right of action
  against any of the Exculpated Parties for any act or omission in connection with, relating to, or
  arising out of, this Chapter 11 Case, the Disclosure Statement, the transactions contemplated by or
  described in the Plan or Disclosure Statement, the formulation, negotiation, or implementation of
  this Plan, the pursuit of Confirmation of this Plan, the Confirmation of this Plan, the consummation
  of this Plan, or the administration of this Plan or the property to be distributed under this Plan, save
  and except the obligation of the Reorganized Debtor to timely make the payments called for
  hereunder.

          9.05. Indemnification Obligations. Nothing in this Plan shall diminish or impair the
  enforceability of any obligation of the Debtor to indemnify, reimburse or limit the liability of any
  Person, including but not limited to any officer or director of the Debtor, or any agent, Professional
  or financial advisor, relating to any acts or omissions occurring subsequent to the Petition Date,
  and such obligations shall be assumed by the Reorganized Debtor.

          9.06. Payment to the United States Trustee. In accordance with section 1129(a)(12)
  of the Bankruptcy Code and 28 U.S.C. § 1930, the Reorganized Debtor shall on the Confirmation
  Date pay all fees then due to the United States Trustee.

          9.07. Post-Petition Reports and Payments to the United States Trustee. On the
  Confirmation Date, the Debtor shall be relieved of any further obligation to file monthly operating
  reports with the Bankruptcy Court. The Reorganized Debtor shall make all post-confirmation
  payments to the United States Trustee as may be required pursuant to 28 U.S.C. § 1930(a)(6) from
  available funds, and shall provide to the United States Trustee such financial reports as the United
  States Trustee may reasonably request, until such time as this Chapter 11 Case has been closed,
  converted, or dismissed.

          9.08. Retention of Claims and Interests. Post-petition, and pursuant to section
  1123(b)(3)(B) of the Bankruptcy Code, any and all claims or interests belonging to the Debtor or
  to the Debtor’s Estate shall be prosecuted and enforced by the Reorganized Debtor. This includes,
  but is not limited to, any and all claims or causes of action for avoidance, recovery or subordination
  pursuant to sections 510, 544, 545, 547, 548, 549, 550, 551 and 553 of the Bankruptcy Code.




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          9.09. Setoffs. The Debtor may, but shall not be required to, set off against any Claim,
  and the payments or other distributions to be made pursuant to the Plan in respect of such Claim,
  claims of any nature whatsoever that the Debtor may have against the holder of such Claim; but
  neither the failure to do so nor the allowance of any Claim hereunder shall constitute a waiver or
  release by the Debtor of any such claim that the Debtor may have against such holder. After the
  Effective Date, such right shall pass to the Reorganized Debtor.

                                                 ARTICLE X
                                                  NOTICES

          10.01. General. After the Confirmation Date, all notices required to be given under any provision of the
  Bankruptcy Code and/or the Bankruptcy Rules shall be sent by first class mail, postage prepaid,
  only to (a) the Reorganized Debtor; (b) the counsel representing the Reorganized Debtor; (c) the
  United States in accordance with Bankruptcy Rule 2002(j), (d) the United States Trustee; and
  (e) those persons specifically requesting, pursuant to written request filed with the Court after the
  Confirmation Date, that they be furnished with notices. Service of all notices, as provided herein,
  shall constitute full and complete service on all Creditors and parties-in-interest.

                                               ARTICLE XI
                                             MISCELLANEOUS

          11.01. Amendment or Modification to Plan. This Plan may be amended or modified by the Debtor
  prior to the hearing on confirmation without notice or hearing and without an additional Disclosure
  Statement pursuant to section 1127(a) of the Bankruptcy Code and, to the extent applicable,
  Bankruptcy Rule 3019. Post-confirmation amendments or modifications of the Plan may be
  allowed by the Court pursuant to section 1127(b) of the Bankruptcy Code if the proposed
  amendment or modification is offered before the Plan has been substantially consummated. The
  sole right to amend or modify the Plan at any time shall be reserved to the Debtor. A holder of a
  Claim that has accepted this Plan shall be deemed to have accepted this Plan, as altered, amended
  or modified, if the proposed alteration, amendment or modification does not materially and
  adversely change the treatment of the Claim of such holder.

          11.02. Correction of Plan. After the Effective Date, only the Debtor may, with the
  approval of the Bankruptcy Court, and so long as it does not materially or adversely affect the
  interest of Creditors, remedy any defect or omission, or reconcile any inconsistencies, in the Plan,
  or in the Confirmation Order in such manner as may be necessary to carry out the purposes and
  effect of the Plan.

          11.03. Revocation of Plan. The Debtor reserves the right to revoke and withdraw this
  Plan prior to entry of the Confirmation Order. If the Debtor revokes or withdraws this Plan, or if
  confirmation of this Plan does not occur, then this Plan shall be deemed null and void, and nothing
  contained herein shall be deemed to constitute a waiver, an admission, or a release of any defenses
  or claims against the Debtor, its Estate, or any other person or to prejudice in any manner the rights,
  claims, or defenses of the Debtor in any further proceedings or litigation whatsoever, involving
  the Debtor, the Estate, and their respective successors or assigns, if any.




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          11.04. Binding Effect. The Plan shall be binding upon and inure to the benefit of the
  Debtor, the holders of Claims and Equity Interests, and their respective successors and assigns,
  including, without limitation, the Reorganized Debtor. The rights, benefits, and obligations of any
  entity named or referred to in this Plan shall be binding on, and shall inure to the benefit of, any
  heir, executor, administrator, successor, or assign of such entity.

          11.05. Notices All notices, requests and demands to or upon the Reorganized Debtor to
  be effective shall be in writing and, unless otherwise expressly provided herein, shall be deemed
  to have been duly given or made when actually delivered or, in the case of notice by facsimile
  transmission, when received and telephonically confirmed, with a copy by mail, addressed as
  follows:

  If to the Reorganized Debtor:                  Mark H. Ralston
                                                 Fishman Jackson Ronquillo PLLC
                                                 Three Galleria Tower
                                                 13155 Noel Road, Suite 700
                                                 Dallas, TX 75240
                                                 Telephone: (972) 419-5544
                                                 Facsimile: (972) 4419-5500
                                                 E-mail: mralston@fjrpllc.com


          11.06. Final Allowance. Notwithstanding anything contained above, all distributions to
  Classes under this Plan will only be made after the creditors in said Classes have their Claims fully
  fixed and Allowed by the Court. However, objections on Claims in one Class will not preclude
  distribution to creditors in other Classes where no disputes exist regarding Claims in the other
  Classes.

         11.07. Consummation. Upon completion of all payments and all transactions
  contemplated by this Plan, the Plan shall be deemed fully consummated, and this case shall be
  closed. Until substantial consummation occurs, the Debtor may move for and be granted
  modifications of this Plan. Once full consummation is accomplished, an appropriate Order will
  be entered closing this Chapter 11 Case, and such Order closing the case shall be deemed a final
  decree. The order closing this Estate shall, among other things, provide that all jurisdiction of this
  Court will terminate, except such jurisdiction as is otherwise provided hereinabove (including any
  disputes that may arise between the Reorganized Debtor and the Lender), or except and unless the
  Reorganized Debtor requires reopening of this case to enforce any injunctions contained in the
  Order closing this case (or any similar beneficial orders).

          11.08. Disbursing Agent. The Reorganized Debtor shall act as disbursing agent under
  the Plan.

          11.09. Further Authorization. The Debtor shall be entitled to seek such orders,
  judgments, injunctions, and rulings as it deems necessary to carry out the intentions and purposes,
  and to give full effect to the provisions, of this Plan.




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         11.10. Means of Cash Payment. Payments of Cash made pursuant to this Plan shall be
  made, at the option and sole discretion of the Debtor, by checks drawn on, or wire transfer from,
  a domestic bank selected by the Debtor.

          11.11. Plan Supplement. All exhibits and documents included in the Plan Supplement are
  incorporated into and are a part of the Plan as if set forth in full in the Plan. All documents required
  to be filed with the Plan Supplement shall be filed with the Bankruptcy Court at least seven (7)
  days prior to the date of the commencement of the Confirmation Hearing. Thereafter, any Person
  may examine the Plan Supplement in the office of the Clerk of the Bankruptcy Court during normal
  court hours. Copies of the Plan Supplement may also be obtained without charge by contacting
  Morris Weiss at Waller Dortch & Davis, LLP at the address listed above.

          11.12. Severability of Plan Provisions. If, prior to the Confirmation Date, any term or
  provision of this Plan is determined by the Bankruptcy Court to be invalid, void, or unenforceable,
  the Bankruptcy Court shall have the power, upon the request of the Debtor to alter and interpret
  such term or provision to make it valid or enforceable to the maximum extent practicable,
  consistent with the original purpose of the term or provision held to be invalid, void, or
  unenforceable, and such term or provision shall then be applicable as altered or interpreted.
  Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and
  provisions of this Plan shall remain in full force and effect and shall in no way be affected,
  impaired, or invalidated by such holding, alteration, or interpretation. The Confirmation Order
  shall constitute a judicial determination that each term and provision of this Plan, as it may have
  been altered or interpreted in accordance with the foregoing, is valid and enforceable pursuant to
  its terms.

          11.13. Governing Law. Except to the extent that the Bankruptcy Code, the Bankruptcy
  Rules or other federal law is applicable, or to the extent that an exhibit or schedule to this Plan
  provides otherwise, the rights and obligations arising under this Plan shall be governed by, and
  construed and enforced in accordance with, the laws of the State of Texas without giving effect to
  the principles of conflicts of law of such jurisdiction.

          11.14. Conflicts. In the event that provisions of the Disclosure Statement and provisions
  of this Plan conflict, the terms of this Plan shall govern.

        11.15. Entire Agreement. Except as otherwise indicated, the Plan and the Plan
  Supplement supersede all previous and contemporaneous negotiations, promises, covenants,
  agreements, understandings, and representations on such subjects, all of which have become
  merged and integrated into the Plan.

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  Dated: May 4, 2020

                                WC 2101 BEN WHITE, LP,
                                Debtor

                                BY: WC BEN WHITE, LLC,
                                General Partner of the Debtor

                                 /s/ Natin Paul
                                By: Natin Paul
                                    Its: President




                             [SIGNATURE PAGE]
